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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTzuCT OF FLORIDA

                                                     CASE   NO: 17-14001-LMI
IN RE:
Raquel Nunez
       Debtor


                TRUSTEE'S OBJECTION TO CLAIM ON NEGATIVE NOTICE
                         NOTICE OF TRUSTEE'S OBJECTION TO
            CLAIM # 1 FILED BY NISSAN MOTOR ACCEPTANCE CORPORATION

                            IMPORTANT NOTICE TO CREDITORS

                This objection seeks either to disallow or reduce the amount or change the
priority status of the claim filed by you or on your behalf. Please read this objection
carefully to identify which claim is objected to and what disposition of your claim is
recommended.
        If you disagree with the objection or the recommended treatment, you must file a
written response WITHIN 30 DAYS from the date of service of this objection, explaining
why your claim should be allowed as presently filed, and you must serve a copy to the
undersigned Trustee, Nancy K Neidich, Esquire, P.O. Box 279806, Miramar, Florida
33027. OR YOUR CLAIM MAY BE DISPOSED OF IN ACCORDANCE WITH THE
RECOMMENDATION IN THIS OBJECTION.
        If your entire claim is objected to and this is a chapter 11 case, you will not have the
right to vote to accept or reject any proposed plan of reorganization until the objection is
resolved, unless you request an order pursuant to Bankruptcy Rule 3018(a) temporarily
allowing your claim for voting purposes.
        The written response must contain the case name, case number, and must be filed
with the Clerk of the United States Bankruptcy Court.

         Pursuant to Bankruptcy Rule 3007, the Trustee objects to   the following claims(s) filed in

this case

Claim #         Name of Claimant
1               NISSAN MOTOR ACCEPTANCE CORPORATION.

Recommended Disposition Strike and Disallow: The Court entered an order allowing the claim
but that the Claim will not receive a distribution from the Chapter 13 Trustee. The amended
claim seeks a distribution.
The auction was held on May 9,2018 but the claim was not filed until June 25, 2018. The claim
includes post petition charges not approved by the Court. The confirmation order entered on
August 17 ,2017 provided for stay relief to Nissan..
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                                              RESPECTFULLY SUBMITTED           :



                                                    NANCY K. NEIDICH, ESQUIRE
                                                    STANDING CHAPTER 13 TRUSTEE
                                                    P.O. BOX 279806
                                                                      33027-9806

                                                    By : lsl
                                                                     Rodriguez, Esq
                                                    FLO        BAR NO: 0091127
                                                     IAmy E. Carrington, Esq.
                                                    FLORIDA BAR NO: 101877
                                                    E Jose Ignacio Miceli, Esq.
                                                    FLOzuDA BAR NO: 0077539

                                 CERTIFICATE OF SERVICE,

        I hereby certi$r that atrue and correct copy of the foregoing Objection to Claim # 1 was
served through NEF on debtor's attorney and by US First Class Mail to the following on
 tJuNe     Lb.zotb                     :



Nissan Motor Acceptance Corporation
P.o. Box 660366
Dallas, TX 75266-0366

NISSAN MOTOR ACCEPTANCE CORPORATION
CORPORATION SERVICE COMPANY
1201 HAYS STREET
TALLAHASSEE, FL 32301 -2525




                                                                        Esq
